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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  JOHN SOLOMON,

                         Plaintiff,                             Case No.: 1:23-cv-00759-RJL

                   v.

  MERRICK GARLAND, et al.

                         Defendants.


                           AFFIDAVIT OF JOHN SOLOMON

      1.     I am over eighteen years of age, of sound mind, and understand the

meaning of an oath. I have personal knowledge of the matters contained herein.

      2.     I am an award-winning investigative journalist, author, and digital

media entrepreneur who serves as Chief Executive Officer and Editor in Chief of

Just the News,          https://justthenews.com/. Before founding               Just the News,   I

reported for The Associated Press, The Washington Post, The Washington Times,

Newsweek, The Daily Beast, and The Hill.

      3.     Throughout the time that the events described below occurred, I was

working as a journalist a d a Edi          i Chief f J              he Ne   .

      4.     While I no longer have access to all of my e-mails and text messages

from the relevant time period, the following statement includes my best recollection

of these events:

      5.     Sometime in mid-January 2021, I was informed by White House Chief

of Staff Mark Meadows that President Donald Trump was going to authorize the



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declassification of documents from the Federal Bureau of Investigation and other

agencies from the Crossfire Hurricane investigation.

       6.      Meadows told me the White House had gathered the records from

agencies, President Trump was preparing a declassification order, and the records

would be made available to me and other reporters before President T

departure from office on January 20, 2021.

       7.      In the final 48 hours before Trump left office, the President and

Meadows told me that the records had been declassified.

       8.      Meadows invited me to the White House to quickly review a binder of

several hundred pages of documents that had been declassified and to discuss a plan

for dissemination of the records to the American public on the morning of January

20, 2021. I quickly thumbed through the binder to understand the nature and

quantity of the memos after being assured by Meadows and a White House lawyer

that the binder had been declassified and after being shown a copy of the signed order.

       9.      My recollection is that I conducted a quick review of the binder    about

10 inches thick    and that I found lightly redacted versions of the fourth Crossfire

Hurricane FISA warrants, a 2017 FBI 302 interview report with Christopher Steele,

several tasking orders related to a second Confidential Human Source named Stefan

Halper, and other documents from the probe that I had written about and advocated

for release.

       10.     The documents had markings consistent with those I had seen

declassified in prior FOIA cases, such as i e          h      gh   d   i e NOFORN. Whi e




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I d    ha e      e f      ha   e ie ,            ec     ec i     i   ha Mead          d   e he

White House had made the final decisions on which passages to declassify or which

to keep redacted in each document.

      11.     Meadows discussed a strategy with me to release the documents to the

public via the Just the News Web site. That strategy included getting one set of the

documents that my staff could begin scanning on the evening of January 19, 2021, on

an embargoed basis for release the following morning and getting a smaller second

set of the documents that I could write on that night.

      12.     My recollection is that either my colleague or I met outside the White

House early in the evening of January 19, 2021, to get a complete set of the documents

under embargo to begin the scanning operation. The documents were in a paper bag

and embargoed until the next morning. Separately, a Department of Justice envelope

was delivered to my office around the same time with a small subset of the documents

I was permitted to write about that evening. The envelope included about a half dozen

documents. I scanned them and began writing a quick story that evening.

      13.     Separately, my staff began to set up a scanning operation for the

complete set of documents to be released the next morning. As they were setting up

the equipment and processes for scanning, my recollection is that we received a call

from the White House asking that the documents                still under embargo   be returned

because the White House wished to make some additional redactions to unclassified

information that might involve the Privacy Act. The scanning operation was stood

down, and the documents were returned the next morning to a White House official.




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Though Meadows promised to provide us a new set, we never received a new set of

documents.

      14.    Before my team returned the embargoed full set of documents, we

checked to make sure the documents in the DOJ envelope were identical to those in

the full set. They were.

      15.    Based on conversations with Meadows, my understanding was that the

Bureau opposed almost all declassification because the records contained

embarrassing information about he FBI c              d c i     he ca e, but that the President

had authorized their release because he wanted the public to know what the

government had done, f     hi         a e.

      16.    Long after President Trump left office, the National Archives later

informed me that one set of the records had been delivered to the National Archives

and that a separate set in a binder was sent to the DOJ for Privacy Act redactions

and was never returned to the Archives. I was denied access to both sets of documents

as a journalist and a designated representative of President Trump.

      17.    In subsequent interviews, the President told me he was not aware the

documents he ordered declassified and released had been sent to DOJ and never

released, and he expressed disappointment. He made clear that his intention was for

the records to be public and to be part of his official historical records at the National

Archives.

      18.    In spring 2022, I had a conversa i               i h he f   e P e ide       ffice

and asked for permission to search the non-public section of his presidential records




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at the National Archives. I had taken on a similar task in 1992 as a reporter for The

Associated Press when I gained access to non-                  b ic ec d i        Richa d Ni

collection at the National Archives that detailed then-presidential candidate Ross

Pe      c   ac      i h he Ni       ad i i         a i        d      i g he Wa e ga e e a. The

subsequent reporting became a major campaign story and won a prestigious

honorable mention award in the Raymond Clapper news writing competition. The

Trump office said they would discuss my proposal with the President and his lawyers.

      19.    At all time , he f    e P e ide                 ffice     de    dI    a    a i g hi

request as a professional journalist and that I would not use my access to the Archives

in any other capacity except to write stories about the declassified Crossfire

Hurricane documents.

      20.    On June 17, 2022, Evan Corcoran, he f                    e P e ide     a     e , sent

an e-mail to Gary Stern, General Counsel of the National Archives and Records

Administration, stating that the former President would sign a letter informing the

Acting Archivist of the United States that he had designated Kash Patel and me to

be his representatives and that we would like to begin reviewing the documents at

the Archives on June 21, 2022.

      21.    On June 17, 2022, Mr. Stern replied to M . C c a                      e-mail, stating

that the National Archives could begin the process of providing us with access to

Trump Presidential records once they receive the letter from the former President

and that the National Archives would need us to describe the specific records that we

wanted to review.




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        22.   On June 19, 2022, the former President signed a letter to the Acting

Archivist of the United States formally designating Kash Patel and me as his

representatives for access to Presidential records from his administration, under the

Presidential Records Act.

        23.   On June 22, 2022, I replied                  M . Se          e-mail, stating that I

understood he f      e P e ide         a       h i a i          e e had a i ed a     he Na i   a

Archives and that our first request is f            a bi de        f d c    e    f     he R    ia

investigation that the President declassified with an order in his last few days in

office. It is about 10 inches thick. It includes documents such as the last two approved

FISA warrants the FBI sought in their fully declassified state, the debriefing

documents, tasking orders and validation reports for confidential human sources

Christopher Steele and Stefan Halper and other documents. In that e-mail, I stated

that we would like to make copies of every document declassified by the former

P e ide       de a d i c ded i         he binder.

        24.   On June 23, 2022, Mr. Stern replied to my e-mail, stating that the

National Archives did not have the binder because it had been returned to the

Department of Justice on January 20, 2021, as a result of Chief of Staff Mark

Mead          e    a d          he Attorney General. In that e-mail, Mr. Stern also

stated that the National Archives was separately able to locate a box that contains

   gh     2,700      diffe e   ia ed       age     of documents with varying types of

c a ifica i   a d dec a ifica i            a     i g . Because the National Archives was




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unable to ascertain the classification status of any of the information in the box,

however, it would treat the b     c      e       a    c a ified a   he TS/SCI e e .

       25.    On July 7, 2022, I sent an e-mail to Mr. Stern, stating that I believed

the pile of documents possessed by the National Archives were the same documents

that the former President had declassified, and that they were copied from the binder

in preparation for release to the news media on the morning of January 20, 2021. In

that e-mail, I requested a Mandatory Declassification Review of those documents to

confirm that they are the same as the declassified records, and I requested that Kash

Patel who had an active TS/SCI clearance and was familiar with the documents in

the binder could simultaneously review the pile of documents at the National

Archives to confirm whether they were the same as the documents from the binder

c   e ed b   he f   e P e ide      declassification order.

       26.    On July 12, 2022, Mr. Stern replied to my e-mail, stating that                he

Trump Presidential ec d         e e          a ai ab e f       he Ma da     Dec a ifica i

Review procedures under the Presidential Records Act. In that e-mail, Mr. Stern also

stated that the binder was now subject to a FOIA lawsuit, which meant that the

Department of Justice was conducting the type of review I had requested, and that I

should try to obtain a copy of the records released by the Department of Justice in

that case.

       27.    On July 14, 2022, Mr. Stern replied to an e-mail from Mr. Patel, stating

that, while the National Archives did have multiple copies of documents that

appeared to be from the binder, there was no clear organization or delineation to the




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various documents in the box. In that e-mail, Mr. Stern also stated that the National

Archives review of the contents of the box found instances of the same document being

redacted differently, and some documents did not have the required declassification

marking. In that e-mail, Mr. Stern also claimed that the binder that was sent to the

Department of Justice was a federal record managed separately under the Federal

Records Act.

        28.        On July 19, 2022, I interviewed Meadows about the declassified

documents. During the interview, he stated that P e ide                          T          a    he    e ha

continued to make sure that transparency with the American people on this issue

 a      ha i        a a ab           . Mead        s also stated that, on the morning of January 20,

2021, he De a               e        fJ    ice had         ec       ce      ab       i ac    even though I

hi      i      e    c ea        ha        e f he     i ac i         e that they were raising was not an

issue       but, out of an abundance of caution,                e       a   ed    a e       e ha      e did

ha      a          e, a d            e ga e he       h e dec a ified d c             e          to do a final

redaction for some of that personal information, with the instruction that they were

to go ahead and disseminate those, and we expected fully that they would do that

within at the most a few days, but he e                  e a e a fe         ea   a e . A video clip of this

interview is posted online at https://justthenews.com/videos/brief-one-one-john-

solomon-and-mark-meadow.

        29.        On August 14, 2022, I sent an e-mail to Mr. Stern, stating that the

declassified Russia records met the definition of a presidential record under the




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Presidential Records Act, and I asked what efforts had been made to retrieve them

from the Department of Justice.

      30.    On August 17, 2022, Mr. Stern replied to my e-mail, stating that the

b       f   he bi de       e      ed acc di g                  Mead       Ja    a     20, 2021,

memorandum was i e ded                e ai         ih      he De a    e    fJ       ice, while the

White House separately retained copies of those documents as Presidential records,

b        i a ea i      di ce   ib e   a    e . In that e-mail, Mr. Stern also stated that

he had asked the Department of Justice to complete its review as quickly as possible

and release the records, as they were subject to a FOIA lawsuit.

      31.    The Bureau has been releasing Crossfire Hurricane records under the

Freedom of Information Act and posting them online at https://vault.fbi.gov/crossfire-

hurricane-part-01.

      32.    These records are much more heavily redacted than the records in the

declassified binder.

      33.    I know this because my team compared the declassified records that

were delivered to me in a Department of Justice envelope on January 19, 2020, and

compared them to the records published by the Bureau. The records published by the

Bureau have been altered with additional redactions, and they are therefore different

from the records that were in the Crossfire Hurricane binder that Mr. Meadows sent

to the Department of Justice on January 20, 2021.

      34.    I declare under penalty of perjury that the above statements are true

and correct to the best of my personal knowledge and belief.




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Dated this 17th day of August 2023




JOHN SOLOMON




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